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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

* _ CRIMINAL NO. JKB-23-0056

v.
SARAH BETH CLENDANIEL et al., *
Defendants. *
* * * * x x * * * te *
SCHEDULING ORDER

Pursuant to a scheduling conference held on August 10, 2023, the Court now sets the

following dates and deadlines for further proceedings in this case:

September. 7, 2023

December 7, 2023

December 12, 2023, 5:00 p.m.

Deadline for the Government to produce all non-
Jencks discovery.

Deadline for the Defendants’ pretrial motions.

Telephone scheduling conference. The Court
anticipates setting further deadlines at this time,
including the deadline for the Government’s responses
to pretrial motions, the deadline for Defendants’
replies, the deadline for the Government to produce
Jencks materials, the date of the motions hearing, the
deadline for motions in limine, the date of the pretrial
conference, and the date of the jury trial. Counsel for
the Government are directed to arrange for and
distribute conference call information to counsel and
Judge Bredar’s chambers.

The Government is directed to file any necessary motions to exclude time pursuant to the

Speedy Trial Act. No changes in the schedule set forth above will be permitted unless authorized

by the Court for good cause shown. Any such requests, either stipulated or ex parte, must be made

by motion and filed with the Clerk,

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DATED this _/O day of August, 2023.

BY THE COURT:

fh OS.

James K. Bredar
Chief Judge

